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                              IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                        :
                                                :
                 v.                             :      CRIMINAL NO. 24-044
                                                :
YANIV GOLA                                      :
Out of Custody                                  :

                                           NOTICE OF HEARING

       Take notice that the defendant in the above-entitled case is scheduled for a
SENTENCING hearing on September 4, 2024, at 10am before the Honorable Kai N. Scott in
Courtroom 13B of the United States District Court, 601 Market Street, Philadelphia, PA 19106.

*** COUNSEL SHALL SUBMIT A SENTENCING MEMORANDUM TO THE COURT NO LATER THAN
SEVEN (7) BUSINESS DAYS PRIOR TO THE HEARING.

☐ Detained Federal Inmate: The U.S. Marshal shall have the defendant present for this court
proceeding.

☒ Bail Status: The defendant is on bail. A Court Security Officer shall be assigned to this
proceeding.

☒ Court Summons: This Notice serves as a summons to appear in court. If the defendant is on
bail or supervision and fails to appear as directed, the presiding judge may issue a bench
warrant.

☐ Interpreter: A           interpreter will be required for the defendant.

☐ This proceeding has been rescheduled from

For additional information, please contact the undersigned.



                                                       By:            s/Sue Flaherty
                                                               Susan Flaherty, Courtroom Deputy
                                                               to the Hon. Kai N. Scott
                                                                Phone: 267-299-7598
Date:
cc via U.S. Mail: Mr. Yaniv Gola
cc via email:     David Bahuriak, Esq.
                  Jee-Eun jeanette Kang, AUSA
                  U.S. Marshal
                  Court Security
                  Probation Office
                  Pretrial Services
                  Interpreter Coordinator
